Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 1 of 11 PageID #: 215




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  DAWN CORRIGAN, CAITLIN CORRIGAN, and                    Docket No. 22-cv-04688 (GRB)(ARL)
  AMBER CORRIGAN,

                              Plaintiffs,                 ANSWER WITH AFFIRMATIVE
                                                          DEFENSES
        -against-

  TOWN OF BROOKHAVEN, THERESA TREJO,
  ED ROMAINE and NEIL FOLEY,

                              Defendants.


        Defendants Town of Brookhaven (the “Town”), Theresa Trejo, Ed Romaine and Neil

 Folely (collectively, the “Defendants”), by and through their attorneys, Quatela Chimeri PLLC,

 allege, as and for their answer, the following:

                                    NATURE OF THE CLAIM
        1.      Defendants deny the allegations in paragraph 1 of the Complaint.

        2.      Defendants deny knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 2 of the Complaint.

        3.      Defendants deny the allegations in paragraph 3 of the Complaint.

        4.      Defendants admit that Theresa Trejo was an employee of the Town on or about

 August 11, 2019 but deny the remaining allegations in paragraph 4 of the Complaint.

        5.      Defendants deny the allegations in paragraph 5 of the Complaint.

        6.      Defendants deny the allegations in paragraph 6 of the Complaint.

        7.      Defendants respectfully assert that the allegations in paragraph 7 do not necessitate

 a response. To the extent a response is necessary, the Defendants deny the allegations and

 respectfully refer all questions of law to the Honorable Court.
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 2 of 11 PageID #: 216




                                   JURISDICTION AND VENUE
          8.       Defendants deny the allegations in paragraph 8 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          9.       Defendants deny the allegations in paragraph 9 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

                                            THE PARTIES
          10.      Defendants deny knowledge or information sufficient to form a belief as to whether

 DAWN is a resident of the State of New York but deny the remaining allegations in paragraph 10

 of the Complaint.

          11.      Defendants deny knowledge or information sufficient to form a belief as to whether

 CAITLIN is a resident of the State of New York but deny the remaining allegations in paragraph

 11 of the Complaint.

          12.      Defendants deny knowledge or information sufficient to form a belief as to whether

 AMBER is a resident of the State of New York but deny the remaining allegations in paragraph

 12 of the Complaint.

          13.      Defendants admit that Defendant TOB is a town located in Suffolk County but deny

 the remaining allegations in paragraph 13 of the Complaint and respectfully refer all questions of

 law to the Honorable Court.

          14.      Defendants admit that Defendant TREJO is an employee of Defendant TOB but

 deny the remaining allegations in paragraph 14 of the Complaint and respectfully refer all

 questions of law to the Honorable Court.

          15.      Defendants admit that Defendant ROMAINE was the Town Supervisor during the

 relevant time period but deny the remaining allegations in paragraph 15 of the Complaint and

 respectfully refer all questions of law to the Honorable Court.


                                                   2
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 3 of 11 PageID #: 217




          16.      Defendants admit that Defendant FOLELY was a Town Councilman during the

 relevant time period but deny the remaining allegations in paragraph 16 of the Complaint and

 respectfully refer all questions of law to the Honorable Court.

                                           JURY DEMAND
          17.      Defendants respectfully assert that the allegations in paragraph 17 do not

 necessitate a response.

                                                 FACTS
          18.      Defendants deny knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 18 of the Complaint.

          19.      Defendants admit that Trejo appeared at the subject property on or about August

 11, 2019 but deny knowledge or information sufficient to form a belief as to the truth of the

 remaining allegations in paragraph 19 of the Complaint.

          20.      Defendants admit that Trejo was called to the subject property by the Suffolk

 County Police but deny the remaining allegations in paragraph 20 of the Complaint.

          21.      Defendants admit that the Suffolk County Police requested that they appear at the

 subject property but deny the remaining allegations in paragraph 21 of the Complaint.

          22.      Defendants admit the allegations in paragraph 22 of the Complaint.

          23.      Defendants deny knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 23 of the Complaint.

          24.      Defendants deny knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 24 of the Complaint.

          25.      Defendants admit that Trejo spoke with the Suffolk County Police Officer but deny

 the remaining allegations in paragraph 25 of the Complaint.



                                                    3
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 4 of 11 PageID #: 218




          26.      Defendants admit that Trejo spoke with an individual at the subject property

 pertaining to permission to enter the home but deny the remaining allegations in paragraph 26 of

 the Complaint.

          27.      Defendants deny the allegations in paragraph 27 of the Complaint.

          28.      Defendants deny the allegations in paragraph 28 of the Complaint.

          29.      Defendants deny the allegations in paragraph 29 of the Complaint.

          30.      Defendants deny the allegations in paragraph 30 of the Complaint.

          31.      Defendants admit that condemnation notices were placed on the subject property

 but deny the remaining allegations in paragraph 31 of the Complaint.

          32.      Defendants deny the allegations in paragraph 32 of the Complaint.

          33.      Defendants deny the allegations in paragraph 33 of the Complaint.

          34.      Defendants deny the allegations in paragraph 34 of the Complaint.

          35.      Defendants deny knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 35 of the Complaint.

          36.      Defendants deny the allegations in paragraph 36 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          37.      Defendants deny the allegations in paragraph 37 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          38.      Defendants deny the allegations in paragraph 38 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          39.      Defendants deny the allegations in paragraph 39 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.




                                                    4
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 5 of 11 PageID #: 219




          40.      Defendants deny the allegations in paragraph 40 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          41.      Defendants deny the allegations in paragraph 41 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          42.      Defendants deny the allegations in paragraph 42 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          43.      Defendants deny the allegations in paragraph 43 of the Complaint and respectfully

 refer all questions of law to the Honorable Court.

          44.      Defendants admit that a case entitled Spradly v. Town of Brookhaven is pending

 but deny the remaining allegations in paragraph 44 of the Complaint.

          45.      Defendants admit that a case entitled McCrae v. Town of Brookhaven is pending

 but deny the remaining allegations in paragraph 45 of the Complaint.

          46.      Defendants admit that a case entitled Perkowski v. Town of Brookhaven was

 pending but deny the remaining allegations in paragraph 46 of the Complaint.

          47.      Defendants admit that a case entitled Shea v. Town of Brookhaven is pending but

 deny the remaining allegations in paragraph 4 of the Complaint.

          48.      Defendants deny knowledge or information sufficient to form a belief as to the truth

 of whether there is a Facebook group called “Brookhaven Citizens Against Overzealous Code

 Enforcement” but deny the remaining allegations in paragraph 48 of the Complaint.

          49.      Defendants deny the allegations in paragraph 49 of the Complaint.

          50.      Defendants deny the allegations in paragraph 50 of the Complaint.

          51.      Defendants deny the allegations in paragraph 51 of the Complaint.

          52.      Defendants deny the allegations in paragraph 52 of the Complaint.




                                                    5
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 6 of 11 PageID #: 220




          53.      Defendants deny the allegations in paragraph 53 of the Complaint.

          54.      Defendants deny the allegations in paragraph 54 of the Complaint.

          55.      Defendants deny the allegations in paragraph 55 of the Complaint.

          56.      Defendants deny the allegations in paragraph 56 of the Complaint.

          57.      Defendants deny the allegations in paragraph 57 of the Complaint.

          58.      Defendants deny the allegations in paragraph 58 of the Complaint.

          59.      Defendants deny the allegations in paragraph 59 of the Complaint.

          60.      Defendants deny the allegations in paragraph 60 of the Complaint.

          61.      Defendants deny the allegations in paragraph 61 of the Complaint.

          62.      Defendants deny the allegations in paragraph 62 of the Complaint.

                           AS AND FOR A FIRST CLAIM FOR RELIEF
                        4TH AMENDMENT – ILLEGAL ENTRY AND SEARCH
          63.      In response to paragraph 63 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 62 above with the same force and effect as if more fully set forth at length herein.

          64.      Defendants deny the allegations in paragraph 64 of the Complaint.

          65.      Defendants deny the allegations in paragraph 65 of the Complaint.

          66.      Defendants deny the allegations in paragraph 66 of the Complaint.

          67.      Defendants deny the allegations in paragraph 67 of the Complaint.

                          AND AS FOR A SECOND CLAIM FOR RELIEF
                            4TH AMENDMENT – ILLEGAL SEIZURE
          68.      In response to paragraph 68 of the Complaint, Defendants repeat and reallege

 each admission, denial and denial upon knowledge and information or belief set forth in




                                                   6
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 7 of 11 PageID #: 221




 paragraphs 1 through 67 above with the same force and effect as if more fully set forth at length

 herein.

           69.     Defendants deny the allegations in paragraph 69 of the Complaint.

           70.     Defendants deny the allegations in paragraph 70 of the Complaint.

           71.     Defendants deny the allegations in paragraph 71 of the Complaint.

           72.     Defendants deny the allegations in paragraph 72 of the Complaint.

                           AND AS FOR A THIRD CLAIM FOR RELIEF
                          14TH AMENDMENT – DUE PROCESS OF LAW
           73.     In response to paragraph 73 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 72 above with the same force and effect as if more fully set forth at length herein.

           74.     Defendants deny the allegations in paragraph 74 of the Complaint.

           75.     Defendants deny the allegations in paragraph 75 of the Complaint.

           76.     Defendants deny the allegations in paragraph 76 of the Complaint.

           77.     Defendants deny the allegations in paragraph 77 of the Complaint.

                         AND AS FOR A FOURTH CLAIM FOR RELIEF
                            ABUSE OF PROCESS – SECTION 1983
           78.     In response to paragraph 78 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 77 above with the same force and effect as if more fully set forth at length herein.

           79.     Defendants deny the allegations in paragraph 79 of the Complaint.

           80.     Defendants deny the allegations in paragraph 80 of the Complaint.

           81.     Defendants deny the allegations in paragraph 81 of the Complaint.

     82. Defendants deny the allegations in paragraph 82 of the Complaint.



                                                   7
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 8 of 11 PageID #: 222




                      AND AS FOR A FIFTH CLAIM FOR RELIEF
             FAILURE TO PROPERLY TRAIN OR SUPERVISE – SECTION 1983
          83.      In response to paragraph 83 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 82 above with the same force and effect as if more fully set forth at length herein.

          84.      Defendants deny the allegations in paragraph 84 of the Complaint.

          85.      Defendants deny the allegations in paragraph 85 of the Complaint.

          86.      Defendants deny the allegations in paragraph 86 of the Complaint.

                           AND AS FOR A SIXTH CLAIM FOR RELIEF
                        EIGHTH AMENDMENT – EXCESSIVE PUNISHMENT
          87.      In response to paragraph 87 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 86 above with the same force and effect as if more fully set forth at length herein.

          88.      Defendants deny the allegations in paragraph 88 of the Complaint.

          89.      Defendants deny the allegations in paragraph 89 of the Complaint.

          90.      Defendants deny the allegations in paragraph 90 of the Complaint.

          91.      Defendants deny the allegations in paragraph 91 of the Complaint.

                          AND AS FOR A SEVENTH CLAIM FOR RELIEF
                            ILLEGAL EVICTION – SECTION 768 RPA
          92.      In response to paragraph 92 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 91 above with the same force and effect as if more fully set forth at length herein.

          93.      Defendants deny the allegations in paragraph 93 of the Complaint.

          94.      Defendants deny the allegations in paragraph 94 of the Complaint.

          95.      Defendants deny the allegations in paragraph 95 of the Complaint.



                                                   8
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 9 of 11 PageID #: 223




          96.      Defendants deny the allegations in paragraph 96 of the Complaint.

               AND AS FOR AN EIGHTH CLAIM FOR RELIEF
       NEGLIGENCE, NEGLIGENT INFLICTION OF EMOTION DISTRESS
  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, TRESPASS, TRESPASS
            TO CHATTELS – NY STATE COMMON LAW CLAIMS
          97.      In response to paragraph 97 of the Complaint, Defendants repeat and reallege each

 admission, denial and denial upon knowledge and information or belief set forth in paragraphs 1

 through 96 above with the same force and effect as if more fully set forth at length herein.

          98.      Defendants deny the allegations in paragraph 98 of the Complaint.

          99.      Defendants deny the allegations in paragraph 99 of the Complaint.

          100.     Defendants deny the allegations in paragraph 100 of the Complaint.

          101.     Defendants deny the allegations in paragraph 101 of the Complaint.

                                      AFFIRMATIVE DEFENSES
                                        First Affirmative Defense
          1.       Plaintiffs fail to state a claim upon which relief can be granted.

                                       Second Affirmative Defense
          2.       Plaintiffs’ claims are untimely under the applicable statutes of limitations and/or

 doctrine of laches and, therefore, barred as a matter of law.

                                       Third Affirmative Defense
          3.       Plaintiffs failed to mitigate their damages, if any.

                                       Fourth Affirmative Defense
          4.       Plaintiffs’ claims are barred, in whole or in part, under the doctrine of unclean

 hands.

                                        Fifth Affirmative Defense
          5.       Defendant Trejo entered the subject premises with the requisite consent.


                                                      9
 4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 10 of 11 PageID #: 224




                                         Sixth Affirmative Defense
           6.       Exigent circumstances existed that necessitated the Defendants’ actions.

                                       Seventh Affirmative Defense
           7.       “Special needs” existed that necessitated the Defendants’ actions.

                                        Eighth Affirmative Defense
           8.       The individual Defendants are entitled to qualified immunity.

                                        Ninth Affirmative Defense
           9.       Plaintiffs’ claims are barred by the doctrine of res judicata.

                                        Tenth Affirmative Defense
           10.      Plaintiffs’ claims are barred by the doctrine of collateral estoppel.

                                      Eleventh Affirmative Defense
           11.      Plaintiffs lack standing to assert their purported claims.

                                       Twelfth Affirmative Defense
           12.      If Plaintiffs suffered any damages as a result of the facts alleged in their Complaint,

  which Defendants deny, Plaintiffs knowingly assumed the risk and were negligent, careless, and

  acted so as to contribute to any alleged risk of injures and damages. Plaintiffs’ negligence,

  carelessness and fault bars in whole or in part the damages which Plaintiffs seeks to recover.

                                     Thirteenth Affirmative Defense
           13.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs did not suffer

  any damages attributable to any allegedly wrongful conduct by Defendants, and/or any damages

  or injuries Plaintiff allegedly suffered were caused by Plaintiffs’ own conduct or the conduct of

  third parties.




                                                      10
  4855-9792-1675, v. 2
Case 2:22-cv-04688-GRB-ARL Document 21 Filed 10/27/23 Page 11 of 11 PageID #: 225




                                     Fourteenth Affirmative Defense
           14.      Plaintiffs failed to establish a custom or policy to support its Monell claim.

                                      Fifteenth Affirmative Defense
           15.      Defendants were not deliberately indifferent to Plaintiffs’ rights.

                          RIGHT TO AMEND AFFIRMATIVE DEFENSES
           Defendants respectfully reserve the right to amend their Answer to assert additional

  affirmative defenses in the future and to supplement those asserted herein upon further

  investigation and discovery.

  Dated: Hauppauge, New York
         October 27, 2023                                  QUATELA | CHIMERI, PLLC


                                                           By: ____________________________
                                                                  Alexander E. Sendrowitz, Esq.
                                                           Attorneys for Defendants
                                                           888 Veterans Memorial Hwy., Ste. 530
                                                           Hauppauge, New York 11788
                                                           (631) 482-9700
                                                           AES@QCLaw.com




                                                      11
  4855-9792-1675, v. 2
